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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,


                            Plaintiff,

                    v.
                                                       Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;                            JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and DMITRY
    MOISEEV.

                            Defendants.


          DECLARATION OF ANDREW D. WILSON IN SUPPORT OF
   DEFENDANTS’ REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

I, Andrew D. Wilson, declare and state as follows:

       I am counsel for Defendants Cambium Networks, Inc. (“Cambium”) and Cambium

Networks, Ltd. (“Cambium UK”), Blip Networks, LLC, Winncom Technologies, Inc., Sakid

Ahmed, and Dmitry Moiseev (collectively the “Defendants”). I have personal knowledge of the

facts set forth in this declaration and, if called to testify as a witness, could and would testify to

the following under oath.

       On Monday, October 15, 2018, Defendants filed their Memorandum in Support of their

Motion to Dismiss in this Court. Defendants submit their Reply Brief in Support of their Motion

to Dismiss (“Defendants’ Reply”) with the filing of this Declaration.

       I received by Federal Express delivery on Monday, November 5, 2018 a certified copy of

the deposit material on file at the U.S. Copyright Office corresponding to copyright registration




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numbers TXu 1-795-146 and TXu 1-795-147. A true and correct copy of those documents have

been marked as Exhibits 11 and 12 and are attached to Defendants’ Reply.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.


               Executed at Washington, DC this 5th day of December 2018.




               Andrew D. Wilson




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